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                                                              CLERK US DISTRICT COURT
                                                           SOUTHERN DISTRICT OF C IFORNIA
 5                                                         BY                     DEPUTY

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 7                              UNITED STATES DISTRICT COURT
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                           SOUTHERN DISTRICT OF CALIFORNIA
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10
      UNITED STATES OF AMERICA,                                 Case No. 16-CR-2460-BEN
11
                                                                ORDER GRANTING
12                 Plaintiff,                                   MOTION TO DISMISS
            V.                                                  WITHOUT PREJUDICE,
13                                                              JUDGMENT OF DISMISSAL,
                                                                BOND EXONERATION
14    RAUL LUCERO (2),
15              )  Defendant
16              )
   ~~~~~~~~~~~-)
17
18         IS HEREBY ORDERED that the United States' Motion to Dismiss the charges under
19 the above-referenced case number against RAUL LUCERO, be granted. The dismissal shall
20 be without prejudice. Bond is hereby exonerated.
21
22
           SO ORDERED.
23
           DATED: Februaryµ _ , 2017
24
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27
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